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 8                            IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   JASON V. SANTIBANEZ,

11                  Petitioner,                     No. CIV S-09-0239 DAD P

12           vs.

13   JOHN HAVLIN, Warden,

14                  Respondent.                     ORDER

15                                           /

16                  Petitioner, a state prisoner proceeding pro se, has filed a petition for a writ of

17   habeas corpus pursuant to 28 U.S.C. § 2254, together with an application to proceed in forma

18   pauperis.

19                  Examination of the in forma pauperis application reveals that petitioner is unable

20   to afford the costs of suit. Accordingly, the application to proceed in forma pauperis will be

21   granted. See 28 U.S.C. § 1915(a).

22                  Since petitioner may be entitled to relief if the claimed violation of constitutional

23   rights is proved, respondent will be directed to file a response to petitioner’s habeas petition.

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             Case 2:09-cv-00239-MCE-DAD Document 5 Filed 02/17/09 Page 2 of 2




 1                     In accordance with the above, IT IS HEREBY ORDERED that:

 2                     1. Petitioner’s application to proceed in forma pauperis is granted;

 3                     2. Respondent is directed to file a response to petitioner’s habeas petition within

 4   sixty days from the date of this order. See Rule 4, Fed. R. Governing § 2254 Cases. An answer

 5   shall be accompanied by all transcripts and other documents relevant to the issues presented in

 6   the petition. See Rule 5, Fed. R. Governing § 2254 Cases;

 7                     3. If the response to the habeas petition is an answer, petitioner’s reply, if any,

 8   shall be filed and served within thirty days after service of the answer;

 9                     4. If the response to the habeas petition is a motion, petitioner’s opposition or

10   statement of non-opposition to the motion shall be filed and served within thirty days after

11   service of the motion, and respondent’s reply, if any, shall be filed and served within fifteen days

12   thereafter; and

13                     5. The Clerk of the Court shall serve a copy of this order, a copy of the petition

14   for writ of habeas corpus pursuant to 28 U.S.C. § 2254, and a copy of the form regarding consent

15   or request for reassignment on Michael Patrick Farrell, Senior Assistant Attorney General.

16   DATED: February 13, 2009.

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